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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS

Charles Berryman,                               )
                                                )
                                                )
Plaintiff,                                      )
                                                )   Case No.:
v.                                              )
                                                )   JURY TRIAL DEMANDED
SYNGENTA CROP PROTECTION, LLC,                  )
SYNGENTA AG, and CHEVRON U.S.A,                 )
INC.,                                           )
                                                )
Defendants.                                     )

                                        COMPLAINT

        NOW COMES Plaintiff, Charles Berryman by and through his attorneys, PULASKI

KHERKHER, PLLC, for his Complaint at Law against Defendants, SYNGENTA CROP

PROTECTION, LLC, SYNGENTA AG, and CHEVRON U.S.A., INC., alleges as follows:

                                      Nature of the Case

        1.    This case arises out of Defendants’ wrongful conduct in connection with the design,

development, manufacturing, testing, packaging, promoting, marketing, advertising, distribution,

and sale of paraquat dichloride, also known as paraquat methosulfate (“Paraquat”), the active

ingredient in herbicide products that cause Parkinson’s Disease (“PD”). As such, Paraquat is

dangerous to human health and unfit to be marketed and sold in commerce, particularly without

proper warnings and directions as to the dangers associated with its use. Plaintiff, Charles

Berryman, was exposed to Paraquat for a sustained period of time and suffered permanent physical

injury and pain as a result thereof. This case arises out of Defendants’ wrongful conduct in

connection with the design, development, manufacturing, testing, packaging, promoting,

marketing, advertising, distribution, and sale of paraquat dichloride, also known as paraquat

methosulfate (“Paraquat”), the active ingredient in herbicide products that cause Parkinson’s

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Disease (“PD”). As such, Paraquat is dangerous to human health and unfit to be marketed and sold

in commerce, particularly without proper warnings and directions as to the dangers associated with

its use. Plaintiff, Charles Berryman was exposed to Paraquat for a sustained period of time and

suffered permanent physical injury, and pain as a result thereof.

                                               Parties

       2.      Plaintiff, Charles Berryman, is a natural person (hereinafter “Plaintiff”) now and

at all relevant times was a resident of the state of Nebraska. Plaintiff, Charles Berryman, brings

this action for personal injuries sustained by exposure to the active ingredient Paraquat in

Defendants’ Paraquat products.

       3.      Defendant Syngenta Crop Protection, LLC (“SCP”) is a Delaware limited liability

company with its principal place of business in at 410 South Swing Road, Greensboro, North

Carolina 27409-2012. SCP is a subsidiary of Syngenta Seeds.

       4.      SCP advertises, promotes, markets, sells, and distributes Paraquat and other

herbicides and pesticides to distributors, dealers, applicators, and farmers in the State of Illinois.

       5.      Defendant Syngenta AG is a corporation organized and existing under the laws of

Switzerland with its principal place of business at Schwarzwaldallee 215, 4058 Basel-Stadt,

Switzerland. Syngenta AG was formed in 2000 as a result of the merger of Novartis Agribusiness

and Zeneca Agrochemicals. Syngenta AG was a publicly traded company on the Swiss stock

exchange; American Depositary Receipts for Syngenta AG were traded on the New York Stock

Exchange until it was acquired by ChemChina, a Chinese state-owned entity, in 2017. It has since

been de-listed. On information and belief, Syngenta AG continues to operate as a separate unit of

ChemChina. Syngenta AG wholly owns, through its ownership of Syngenta Seeds, SCP.

       6.      Syngenta AG represents itself as a global company. According to Syngenta’s

website, Syngenta AG’s Board of Directors “has full and effective control of the company and

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holds ultimate responsibility for the company strategy.”

       7.      One or more members of Syngenta AG’s Board of Directors or the Executive

Committee established by the Board of Directors also serve as member(s) of the Board of Directors

of SCP and/or Syngenta Seeds.

       8.      Syngenta AG’s Executive Committee formulates and coordinates the global

strategy for Syngenta businesses, and maintains central corporate policies requiring Syngenta

subsidiaries, including SCP, to operate under the general guidance of the Syngenta group control.

       9.      Employees of the Syngenta group maintain reporting relationships that are not

defined by legal, corporate relationships, but in fact cross those corporate lines.

       10.     SCP is subject to additional oversight that requires it to seek approval for certain

decisions from higher levels within the functional reporting structure, including, in some

instances, Syngenta AG. SCP’s appointments of senior management personnel also may require,

in some instances, approval from individuals or governing bodies that are higher than SCP’s

board of directors.

       11.     Syngenta AG maintains a central global finance function that governs SCP, which

requires SCP to function under the Syngenta AG umbrella and not independently.

       12.     In addition, SCP regularly refers to itself as “Syngenta.”

       13.     Chevron U.S.A., Inc. (“CUSA”) is a Pennsylvania corporation with its principal

place of business in San Ramon, California.

                                     Jurisdiction and Venue

Subject Matter Jurisdiction

       14.     This court has subject matter jurisdiction over this action because diversity exists

under 28 U.S.C. § 1332(a)(3).

       15.     The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, because Plaintiff seeks an amount that exceeds this sum or value on each of

his claims against each Defendant.

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        16.     Complete diversity exists because this is an action between citizens of different

states in which a citizen or subject of a foreign state is an additional party, in that:

        a.      Plaintiff is a citizen of the state of Nebraska.

        b.      SCP is a citizen of the States of Delaware and North Carolina.

        c.      CUSA is a citizen of the States of Pennsylvania and California.

        d.      Syngenta AG is a citizen or subject of the nation of Switzerland.

Personal Jurisdiction

        17.     This Court has personal jurisdiction over SCP because SCP is a corporation doing

business within the State of Illinois. SCP previously sold and continues to sell its Paraquat

products throughout the State of Illinois. In addition, SCP maintains sufficient minimum contacts

with the State of Illinois such that this Court’s exercise of personal jurisdiction over it does not

offend traditional notions of fair play and substantial justice. Specific to this case, SCP engaged

in the business of developing, manufacturing, testing, packaging, marketing, distributing, and

labeling pesticides containing Paraquat in Illinois, as such that filing a lawsuit in Illinois by a

person injured by Paraquat is foreseeable. SCP purposefully availed itself of the privilege of

conducting activities within the State of Illinois, thus invoking the benefits and protections of its

laws.

        18.     This Court has personal jurisdiction over Syngenta AG because, for the reasons

alleged above, the jurisdictional contacts of SCP in this state are attributable to Syngenta AG

given of the unusually high degree of control Syngenta AG exercises over its subsidiaries. In

addition, Syngenta AG and SCP acted in concert under agreements or other arrangements to act

in a collective manner and/or as joint venturers regarding the actions and events made the subject

of this Complaint. Syngenta AG and SCP are therefore jointly and severally liable for the acts for

which the Plaintiff complaints.

        19.     In the 2011 case of City of Greenville, Illinois. v. Syngenta Crop Protection, Inc.,

this Honorable Court held that Syngenta AG’s unusually high degree of control made Syngenta

Crop Protection the agent or alter ego of Syngenta AG, and therefore subjected Syngenta AG to

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jurisdiction in the State of Illinois. 830 F. Supp. 2d 550 (S.D. Ill. 2011).

        20.    This Court has personal jurisdiction over CUSA because CUSA advertises and

sells goods, specifically pesticides containing Paraquat, throughout this District of Illinois. It

derived substantial revenue from goods and products used in this District. It expected its acts to

have consequences within the State of Illinois, including the foreseeable possibility of a lawsuit

in Illinois by a person injured by Paraquat, and derived substantial revenue from interstate

commerce. CUSA purposefully availed itself of the privilege of conducting activities within the

State of Illinois, thus invoking the benefits and protections of its laws.

Venue

        21.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claim occurred in the Southern District of Illinois, as

Defendant’s alleged wrongful conduct occurred throughout Illinois.

        22.    Plaintiff had no knowledge and had no way of acquiring knowledge about the risk

of serious illness associated with exposure to Paraquat.

        23.    Within the time period of any applicable statutes of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to Paraquat is

injurious to human health.

        24.    Plaintiff had no information which would cause a reasonable person to suspect the

risks associated with exposure to Paraquat; nor would a reasonable and diligent investigation by

Plaintiff have led to discovery that Paraquat would cause or had caused Plaintiff’s injuries.

        25.    Defendants failed to disclose critical safety information about its product

Paraquat, and instead consistently made false representations as to the safety of Paraquat, and

those false representations prohibited Plaintiff from discovering valuable information which

would have prevented this claim.

        26.    Defendants were under a continuous duty to disclose to consumers, users, and

other persons coming into contact with its products, including Plaintiff, accurate safety

information concerning its products and the risks associated with the use of and/or exposure to

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Paraquat.

             27.        Defendants knowingly, affirmatively, and actively concealed safety information

concerning Paraquat, and the serious risks associated with the use of and/or exposure to its

products, including Paraquat.

                                                         Factual Allegations

Development of Paraquat

             28.        The herbicidal properties of Paraquat were discovered by Imperial Chemical

Industries PLC (“ICI”) in 1955.1

             29.        ICI developed, researched, manufactured, and tested Paraquat through its Central

Toxicology Laboratory in the early 1960s and produced the first chemical paraquat formulation,

which it registered in England and introduced in certain markets under the brand name

GRAMOXONE®, in 1962.

             30.        ICI was awarded a U.S. patent on herbicide formulations containing paraquat as

an active ingredient in 1962.

             31.        ICI’s Central Toxicology Laboratory performed and submitted the health and

safety studies of Paraquat to the United States Department of Agriculture (“USDA”) and the

United States Environmental Protection Agency (“EPA”) to secure and maintain the registration

of Paraquat and other pesticides for use in the United States.

             32.        In or around 1964, ICI entered into a licensing and distribution agreement with

Chevron Chemical Company (“Chevron”) to sell Paraquat in the United States. Under this ICI-

Chevron Agreement, Chevron obtained an exclusive license to the patents and technical

information to permit Chevron to formulate, use, and sell Paraquat under the trade name

GRAMOXONE® and other names in the United States and to sub-license others to do so. Some

form of this agreement remained in effect until September 1986 when ICI paid Chevron for the

early termination of its rights under the paraquat licensing and distribution agreement.


1
    Sagar, G.R., Uses and Usefulness of Paraquat, 6 Hum. Toxicology 7, 11 (1987).



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          33.       Through a long series of mergers, spin-offs, and related corporate transactions,

ownership of ICI’s Central Toxicology Laboratory was transferred to Syngenta Ltd., a wholly

owned British subsidiary of Syngenta AG. Since that time, Syngenta Ltd.’s Central Toxicology

Laboratory has continued to perform and submit health and safety studies to the EPA to secure

and maintain the registration of Paraquat and other pesticides in the United States.

          34.       Through the same long series of mergers, spin-offs, and related corporate

transactions, ICI’s agrochemical business was transferred to SCP.

      35.           From approximately September 1986 through the present, Syngenta AG and/or
SCP has:

          a.        manufactured Paraquat for use as an active ingredient in herbicides formulated
                    and distributed for sale and use in the United States, including in the State of
                    Illinois;

          b.        distributed Paraquat for use as an active ingredient in herbicides formulated and
                    distributed for sale and use in the United States, including in the State of Illinois;

          c.        formulated Paraquat products distributed for sale and use in the United States,
                    including in the State of Illinois; and

          d.        distributed Paraquat products for sale and use in the United States, including in
                    the State of Illinois.

          36.       Syngenta, through SCP, is now the leading manufacturer of Paraquat, which it

sells under the brand name GRAMOXONE®. 2

Paraquat Use

          37.       Paraquat is designed to kill broadleaf weeds and grasses before the planting or

emergence of more than 100 field, fruit, vegetable, and plantation crops, to control weeds in

orchards, and to desiccate (dry) plants before harvest.

          38.       Paraquat products are commonly sprayed multiple times per year on the same

land, particularly when used to control weeds in orchards or on farms with multiple crops planted


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  Press Release, Federal Trade Commission, FTC Requires China National Chemical Corporation and Syngenta AG to Divest U.S. Assets
as Condition of Merger (April 4, 2017), https://www.ftc.gov/news- events/press-releases/2017/04/ftc-requires-china-national-chemical-
corporation-syngenta-ag.

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on the same land within a single growing season or year, and such use was as intended, directed,

or at least foreseeable.

        39.     Paraquat is typically sold by Defendants to end-users in the form of a liquid

concentrate (and less commonly in the form of granular solids) designed to be diluted with water

before or after loading it into the tank of a sprayer and applied by spraying it onto target weeds.

        40.     Paraquat concentrate is formulated with one or more “surfactants” to increase the

ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s waxy surface, and enter

into plant cells, and the accompanying instructions typically told end-users to add a surfactant or

crop oil (which typically contains a surfactant) before use.

        41.     Paraquat products are typically applied with a knapsack sprayer, hand-held

sprayer, aircraft (i.e., crop duster), truck with a pressurized tank, or tractor-drawn pressurized

tank, and such use was as intended, directed, or at least foreseeable.

        42.     Each year, Paraquat is applied to millions of acres of agricultural crops, including

corn, soybeans, wheat, cotton, fruit, vegetables, rice, orchards, grapes, alfalfa, hay, and other crops.

        43.     At all relevant times, it was reasonably foreseeable that applicators of Paraquat,

such as the Plaintiff, and others nearby would be exposed to Paraquat when it was used in its

intended, directed, and/or foreseeable manner, including mixing, loading, spraying, or cleaning.

        44.     At all relevant times it was reasonably foreseeable that users and others nearby

would be exposed to Paraquat through contact with skin, breathing it in, and/or ingesting it.

Parkinson’s Disease

        45.     Parkinson’s disease is a terrible disease classified as a progressive

neurodegenerative disorder of the brain that affects primarily the motor system, which is the part

of the central nervous system that controls movement.

        46.     Parkinson’s Disease is now one of the fastest growing neurological diagnoses on

the planet.

        47.     The characteristic symptoms of Parkinson’s disease are its “primary” motor


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symptoms: resting tremor (shaking movement when the muscles are relaxed); bradykinesia

(slowness in voluntary movement and reflexes); rigidity (stiffness and resistance to passive

movement); and postural instability (impaired balance).

       48.     Parkinson’s primary motor symptoms typically result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       49.     Non-motor symptoms are present in most cases, often for years before the primary

motor symptoms appear. These non-motor symptoms include but are not limited to loss of or

altered sense of smell, constipation, low blood pressure on rising to stand, sleep disturbances, and

depression.

       50.     There is currently no cure for Parkinson’s disease. Existing treatments do not slow

or stop its progression; such treatments are capable only of temporarily and partially relieving the

motor symptoms. These treatments also have unwelcome side effects when utilized on a long-

term basis.

       51.     One of the primary pathophysiological hallmarks of Parkinson’s disease is the

selective degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a

part of the brain called the substantia nigra pars compacta (“SNpc”).

       52.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       53.     The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

       54.     Once dopaminergic neurons die, the body cannot replace them. When enough

dopaminergic neurons die, dopamine production falls below the level the brain requires to

properly control motor function, thus resulting in the motor symptoms of Parkinson’s disease.

       55.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

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synuclein) in many of the remaining dopaminergic Neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

        56.        Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

        57.        Oxidative stress is a major factor in—if not the precipitating cause of—the

degermation and death of dopaminergic neurons in the SNpc and the accumulation of Lewy

bodies in the remaining dopaminergic neurons that are the primary pathophysiological hallmarks

of Parkinson’s disease.

Paraquat’s Link to Parkinson’s Disease

        58.        Paraquat is highly toxic to plants and animals.

        59.        Paraquat is designed to injure and kill plants by creating oxidative stress, which

causes or contributes to cause the degeneration and death of plant cells.

        60.        Similarly, Paraquat injures and kills animals by creating oxidative stress, which

causes or contributes to cause the degeneration and death of animal cells.

        61.        Paraquat creates oxidative stress in the cells of plants and animals because of

“redox properties” that are inherent in its chemical composition and structure; it is a strong

oxidant and readily undergoes “redox cycling” in the presence of molecular oxygen, which is

plentiful in living cells.

        62.        The redox cycling of Paraquat in living cells interferes with cellular functions that

are necessary to sustain life along with photosynthesis in plant cells and with cellular respiration

in animal cells.

        63.        The redox cycling of Paraquat in living cells creates a “reactive oxygen species”

known as a superoxide radical, an extremely reactive molecule that can initiate a cascading series

of chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids, which are molecules that are essential components of the structures and functions

of living cells.
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        64.     Because the redox cycling of Paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of Paraquat can trigger the production of

countless molecules of destructive superoxide radical.

        65.     Paraquat’s redox properties have been known within the science community since

at least the 1930s.

        66.     The same oxidation and redox potentials that make Paraquat highly toxic to plant

cells and other types of animal cells make Paraquat highly toxic to nerve cells, including

dopaminergic neurons, and create a substantial risk to all persons exposed to Paraquat.

        67.     The scientific community has known since the 1960s that paraquat is toxic to the

cells of plants, animals, and humans because it creates oxidative stress through redox cycling.

        68.     The surfactants with which the concentrates containing Paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert, were likely to increase Paraquat’s toxicity to humans by increasing its

ability to stay in contact with or penetrate the skin, mucous membranes, and other epithelial

tissues, including tissues of the mouth, nose, nasal passages, trachea, conducting airways, the

lungs, and the gastrointestinal tract.

        69.     Because Paraquat is highly poisonous, the form that is marketed in the United

States has a blue dye to keep it from being confused with beverages such as coffee, a sharp odor

to serve as a warning, and an added agent to cause vomiting if someone drinks it.

        70.     Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175,

which means it is “limited to use by or under direct supervision of a certified applicator.”

        71.     The same redox properties that make Paraquat toxic to plant cells and other types

of animal cells make it toxic to dopaminergic neurons. That is, Paraquat is a strong oxidant that

interferes with the function of dopaminergic neurons, damages those neurons, and ultimately kills

them by creating oxidative stress through redox cycling.

        72.     Although Parkinson’s disease is not known to occur naturally in any species other

than humans, Parkinson’s disease research is often performed using “animal models,” in which

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scientists use Paraquat to artificially produce the symptoms of Parkinson’s disease in animal test

subjects.

          73.        Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease.

          74.        In animal models of Parkinson’s disease, hundreds of studies involving various

routes of exposure have found that Paraquat creates oxidative stress that results in the

degeneration and death of dopaminergic neurons in the SNpc; other pathophysiology consistent

with that seen in human Parkinson’s disease; and motor deficits and behavioral changes

consistent with those commonly seen in human Parkinson’s disease.

          75.        Hundreds of in vitro studies (experiments in test tube, culture dish, or other

controlled experimental environment) have found that Paraquat creates oxidative stress that

results in the degeneration and death of dopaminergic neurons (and many other types of animal

cells). Among those, the following are notable:

          76.        In 1994, Dr. Afonso Bainy published a study concluding that paraquat in vitro

exposure led to an increment in the antioxidant capacity of the red blood cell. 3

          77.        In 2002, Dr. Gabriele Schmuck published a study concluding that cortical neurons

were found to be more sensitive towards paraquat toxicity than astrocytes as shown by MTT and

Neutral Red assay, two different cytotoxicity assays. 4

          78.        In 2019, Dr. Liyan Hou published a study showing that paraquat and maneb

exposure induced ferroptosis, a form of regulated cell death, in SHSY5Y dopaminergic cells. 5

          79.        Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between Paraquat exposure and Parkinson’s

disease, including multiple studies finding a two to five-fold or greater increase in the risk of



3
  Bainy, A.C. et al., Influence of lindane and paraquat on oxidative stress-related parameters of erythrocytes in vitro, 13 Hum. & Experimental
Toxicology 461 (1994).
4
  Schmuck, G. et al., Oxidative stress in rat cortical neurons and astrocytes induced by paraquat in vitro, 4 Neurotoxicity Resch. 1 (2002).
5
  Hou L. et al, NADPH oxidase regulates paraquat and maneb-induced dopaminergic neurodegeneration through ferroptosis, 1 Toxicology 64
(2019).

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Parkinson’s disease in populations with occupational exposure to Paraquat compared to

populations without such exposure.

          80.        In June 2011, Dr. Caroline Tanner published a study examining whether pesticides

that cause mitochondrial dysfunction or oxidative stress, including Paraquat, were associated with

Parkinson’s Disease or clinical features of parkinsonism in humans. 6 The study found that

Paraquat use plays a role in human Parkinson’s Disease and that “[b]ecause paraquat remains one

of the most widely used herbicide worldwide (Frabotta 2009), this finding potentially has great

public health significance.”7

          81.        In November 2012, Dr. Samuel Goldman published a study entitled “Genetic

Modification of the Association of Paraquat and Parkinson’s Disease.” 8 The study found that

those who applied Paraquat and had the GSTT1*0 genotype were 11.1 times more likely to

develop Parkinson’s disease. Paraquat damages neurons by generating oxidative stress through

redox cycling; the GSTT1 gene encodes an enzyme that prevents redox cycling. Around 20% of

Caucasians do not have the GSTT1 gene and thus have the GSTT1*0 genotype. The lack of the

GSTT1 gene may cause those with the GSTT1*0 genotype to be more vulnerable to Paraquat’s

redox cycling mechanism and therefore more likely to develop Parkinson’s.

          82.        In July 2002, Dr. Alison McCormack published a study examining the effect of

Paraquat on mice.9 The study found that Paraquat injections selectively kill dopaminergic neurons

in the SNpc.

          83.        Dr. Robert Nisticó published a study in April 2011 that concluded that Paraquat

causes the cell death of dopaminergic neurons within the substantia nigra, serotonergic neurons

within the raphe nuclei, and noradrenergic neurons within the locus coeruleus. 10 The researchers

noted that Parkinson’s pathology begins in the SNpc and “progressively involves noradrenergic



6
  Tanner, Caroline M. et al., Rotenone, paraquat, and Parkinson’s disease, 119 Environ Health Persp. 866 (2011).
7
  Id.
8
  Samuel M. Goldman et al., Genetic Modification of the Association of Paraquat and Parkinson’s Disease, 27 Mov. Disord. 1652 (2012).
9
  Alison L. McCormack et al., Environmental Risk Factors and Parkinson’s Disease: Selective Degeneration of Dopaminergic Neurons Caused by
the Herbicide Paraquat, 10 Neurobiol. Dis. 119 (2002).
10
   R. Nisticó et al., Paraquat- and Rotenone-Induced Models of Parkinson’s Disease, 24 Int. J. Immunopathol Pharmacology 313 (2011).

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and serotonergic neurons within the locus coeruleus and raphe nuclei.”

           84.        In December 2011, Dr. Phillip Rappold published a study demonstrating how

Paraquat entered dopaminergic neurons and killed the neurons through oxidative stress. 11

Paraquat converted to PQ+, which entered dopaminergic neurons through their dopamine

transporters. PQ+ then also reacted with dopamine, which enhanced the Paraquat-induced

oxidative stress. The researchers argued that dopaminergic neurons are more vulnerable to

Paraquat because PQ+ reacts with dopamine to increase oxidative stress.

           85.        In November 2012, Dr. Pei-Chen Lee published a study examining the

associations between traumatic brain injuries, Paraquat, and Parkinson’s disease. 12 The study

found an association between Paraquat exposure and Parkinson’s.

           86.        In May 2013, Dr. Gianni Pezzoli published a meta-analysis examining seven

studies on Paraquat exposure.13 The meta-analysis evaluated the seven studies together and

separately evaluated the highest quality studies; in both analyses, those individuals exposed to

Paraquat were more likely to develop Parkinson’s disease.

           87.        In a memorandum from March 2, 2016, recommending mitigation measures for

Paraquat, the EPA acknowledged the numerous studies linking Paraquat to Parkinson’s disease

stating, “[t]here is a large body of epidemiology data on paraquat dichloride use and Parkinson’s

disease.”14

           88.        The kidney is the main organ responsible for paraquat excretion and Paraquat is

known to be highly nephrotoxic. Dermal exposure to Paraquat has revealed inflammatory cell

infiltration, tubular necrosis, and diffuse interstitial fibrosis. 15 Paraquat causes toxic chemical

reactions to occur in the kidneys, and long-term effects, including kidney failure, are possible. 16


11
   Phillip M. Rappold et al., Paraquat Neurotoxicity is Mediated by the Dopamine Transporter and Organic Cation Tranpsorter-3, 108 Proc. Natl.
Acad. Of Sci. U.S.A. 20766 (2011).
12
   Pie-Chen Lee et al., Traumatic Brain Injury, Paraquat Exposure, and their Relationship to Parkinson Disease, 79 Neurology 2061 (2012).
13
   Gianni Pezzoli & Emanuele Cereda, Exposure to Pesticides or Solvents and Risk of Parkinson Disease, 80 Neurology 2035 (2013).
14
   Environmental Protection Agency, Paraquat Dichloride; Proposed Mitigation Decision (March 2, 2016),
https://www.regulations.gov/document/EPA-HQ-OPP-2011-0855-0031.
15
   Tungsanga K, Chusilp S, Israsena S, Sitprija V., Paraquat poisoning: evidence of systemic toxicity after dermal Exposure, 59 Postgrad Med. J.
338 (1983).
16
   Centers for Disease Control and Prevention, Facts About Paraquat,

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          89.        Extensive exposure to Paraquat, like that experienced by Plaintiff, have been

shown to more than double the risk of end stage renal disease.

          90.        Switzerland, where Syngenta AG maintains its headquarters, has not only

prohibited the use of Paraquat since 1989 but recently amended the law on chemical substances

to prohibit the export of Paraquat to help protect the health and environment in importing

countries, particularly in the developing world. 17

          91.        The Ministry of Agriculture of the People’s Republic of China classifies Paraquat

as extremely toxic. Paraquat’s use or sale in China has been prohibited since September 1, 2020. 18

          92.        Paraquat use has been banned in the European Union since 2007. 19

          93.        The manufacture, formulation, and distribution of herbicides, such as Paraquat, are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency (“EPA”) before their distribution, sale, or use, except as described by FIFRA 7 U.S.C. §

136a(a).

          94.        The EPA requires the registrant of a pesticide to conduct a variety of tests as part

of the registration process to evaluate the potential for exposure to pesticides, toxicity to people

and other potential non-target organisms, and other adverse effects on the environment.

          95.        Registration by the EPA is not an assurance or finding of safety. The determination

the EPA makes in registering or re-registering a product is not that the product is “safe,” but rather

that use of the product in accordance with its label directions “will not generally cause

unreasonable adverse effects on the environment.” 7 U.S.C. § 136(a)(c)(5)(D).


https://emergency.cdc.gov/agent/paraquat/basics/facts.asp.
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https://en.mercopress.com/2020/10/16/switzerland-bans-the-export-of-five-toxic-chemicals-including-paraquat.
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   Laura Wood, 2018 Market Research on Paraquat in China, Associated Press, September 10, 2018,
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https://www.reuters.com/article/environment-eu-paraquat-dc/eu-court-reimposes-ban-on-paraquat-weedkiller-idUSL1166680020070711.



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        96.    FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, considering the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires the EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

        97.    FIFRA generally requires that the registrant conduct health and safety testing of

pesticides. The government is not required to, nor does it generally, perform the product tests that

are required of the manufacturer.

        98.    Syngenta has long misrepresented and denied the harmful side effects of its

Paraquat-based products.

        99.    In response to growing concern about the safety of Paraquat, Syngenta established

a website at www.paraquat.com for the purpose of persuading the public that Paraquat is safe.

        100.   Syngenta’s statements proclaiming the safety of Paraquat and disregarding its

dangers were designed to mislead the agricultural community and the public at large, including

Plaintiff.

        101.   As of the filing of this Complaint, www.paraquat.com has been taken down by

Syngenta.

        102.   Defendants knew or should have known that Paraquat was a highly toxic

substance that can cause severe neurological injuries and impairment.

        103.   Defendants failed to appropriately and adequately test its Paraquat-based products

to protect individuals like Plaintiff from the hazards of exposure to Paraquat.

        104.   Despite its knowledge that exposure to Paraquat was dangerous, Defendants

continued to promote their Paraquat-based products as safe.

        105.   In fact, in 2003, when Syngenta was dealing with lawsuits regarding another toxic

herbicide, atrazine, it was reported that “Sherry Ford, the communications manager, wrote in her


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notebook that the company ‘should not phase out [atrazine] until we know about’ the Syngenta

herbicide Paraquat, which has also been controversial, because of studies showing that it might

be associated with Parkinson’s disease. She noted that atrazine ‘focuses attention away from other

products.’”20

        106.     Defendants’ failure to adequately warn Plaintiff resulted in: (1) Plaintiff’s

exposure to Paraquat; and (2) scientists and physicians failing to warn and instruct the public,

particularly those living in agricultural areas where Paraquat-based pesticides are heavily sprayed,

about the risk of Parkinson’s disease with exposure to Paraquat.

        107.     By reason of the foregoing, Plaintiff, Charles Berryman, contracted Parkinson’s

Disease and has been severely and permanently injured as a result of the exposure to Paraquat.

        108.     By reason of the foregoing acts and omissions, Plaintiff endured and suffered

emotional and mental anguish, medical expenses, and other economic and non-economic

damages, as a result of Defendants’ actions and inactions.

        109.     Plaintiff was regularly exposed to Paraquat as a result of direct exposure from

mixing and spraying Paraquat while performing agricultural and farming operations.

        110.     As a result of Plaintiff’s injuries, Plaintiff had incurred significant economic and

non-economic damages.

        111.     Plaintiff was directly exposed to Defendants’ Paraquat products from

        approximately 1967 to 2023.

        111.     On numerous occasions, Paraquat came into contact with Plaintiff’s skin while

mixing and spraying Paraquat.

        112.     During the entire time that Plaintiff was exposed to Paraquat, Plaintiff did not

know that exposure to Paraquat, when handled according to the instructions, could be injurious

to himself or others.


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   Rachel Aviv, A Valuable Reputation, The New Yorker, Feb. 3, 2014,
https://www.newyorker.com/magazine/2014/02/10/a-valuable-reputation.


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                                          COUNT I
                                  Negligence (All Defendants)

       113.    Plaintiff re-alleges each paragraph above as if fully set forth herein.

       114.    Defendants had a duty to exercise ordinary care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of

Paraquat products into the stream of commerce, including a duty to assure that the product would

not cause those exposed to it to suffer unreasonable and dangerous side effects.

       115.    Defendants failed to exercise ordinary care in the designing, researching, testing,

manufacturing, marketing, supplying, promoting, packaging, sale, quality assurance, quality

control, and/or distribution of Paraquat products in that Defendants knew or should have known

that persons foreseeably exposed to Paraquat products were placed at a high risk of suffering

unreasonable and dangerous side effects, including but not limited to, the development of

Parkinson’s disease, as well as other severe and personal injuries that are permanent and lasting

in nature; physical pain and mental anguish, including diminished enjoyment of life; and a need

for lifelong medical treatment, monitoring, and medications.

       116.    The negligence by Defendants, their agents, servants, and/or employees, included

but was not limited to the following acts and/or omissions:

       a.      Manufacturing, producing, promoting, formulating, creating, and/or designing
               Paraquat products without thoroughly testing it;

       b.      Failing to test Paraquat products and/or failing to adequately, sufficiently, and
               properly test Paraquat products;

       c.      Failing to conduct sufficient testing to determine whether Paraquat products were
               safe for use, as Defendants either knew or should have known that Paraquat
               products were unsafe and unfit for use because of the dangers to those exposed to
               it;

       d.      Failing to conduct sufficient testing and studies to determine Paraquat products’
               effects on human health even after Defendants had knowledge of studies linking
               Paraquat products to latent neurological damage and neurodegenerative disease,
               including Parkinson’s disease;

       e.      Failing to adequately and correctly warn the Plaintiff, the public, the medical and
               agricultural professions, and the EPA of the dangers of Paraquat products;
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       f.      Failing to provide adequate cautions and warnings to protect the health of persons
               who would reasonably and foreseeably be exposed to Paraquat products;

       g.      Negligently marketing, advertising, and recommending the use of Paraquat
               products without sufficient knowledge as to its dangerous propensities;

       h.      Negligently representing that Paraquat products were safe for use for its intended
               purpose when, in fact, it was unsafe;

       i.      Negligently representing that Paraquat products had equivalent safety and efficacy
               as other forms of herbicides;

       j.      Negligently designing Paraquat products in a manner that was dangerous to others;

       k.      Negligently manufacturing Paraquat products in a manner that was dangerous to
               others;

       l.      Negligently producing Paraquat products in a manner that was dangerous to
               others;

       m.      Negligently formulating Paraquat products in a manner that was dangerous to
               others;

       n.      Concealing information from Plaintiff while knowing that Paraquat products were
               unsafe, dangerous, and/or non-conforming with EPA regulations;

       o.      Improperly concealing and/or misrepresenting information from Plaintiff,
               scientific and medical professionals, and/or the EPA, concerning the severity of
               risks and dangers of Paraquat products compared to other forms of herbicides; and

       p.      Negligently selling Paraquat products with a false and misleading label.


       117.    Defendants under-reported, underestimated, and downplayed the serious dangers

of Paraquat products.

       118.    Defendants    were   negligent      in   the   designing,   researching,   supplying,

manufacturing, promoting, packaging, distributing, testing, advertising, warning, marketing, and

selling of Paraquat products in that Defendants:

       a.      Failed to use ordinary care in designing and manufacturing Paraquat
               products so as to avoid the aforementioned risks to individuals when
               paraquat was used as an herbicide;

       b.      Failed to accompany Paraquat products with proper and/or accurate warnings

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               regarding all possible adverse effects associated with exposure to paraquat;

       c.      Failed to warn Plaintiff of the severity and duration of such adverse effects, as the
               warnings given did not accurately reflect the symptoms or severity of the effects
               including developing Parkinson’s disease;

       d.      Failed to conduct adequate testing, clinical testing and post-marketing
               surveillance to determine the safety of Paraquat products;

       e.      Misrepresented the evidence of paraquat’s neurotoxicity; and

       f.      Was otherwise careless and/or negligent.

       119.    Despite the fact that Defendants knew or should have known that Paraquat

products caused or could cause unreasonably dangerous health effects, Defendants continued to

market, manufacture, distribute, and/or sell Paraquat products to consumers.

       120.    Defendants knew or should have known that consumers like Plaintiff would

foreseeably suffer injury as a result of Defendants’ failure to exercise ordinary care.

       121.    Defendants’ negligence was the proximate cause of Plaintiff’s injuries, harm, and

economic loss, which Plaintiff suffered.

       122.    As a result of the foregoing acts and omissions, Plaintiff suffered from permanent

health issues, physical disability, and mental anguish including diminished enjoyment of life, as

well as financial expenses for hospitalization and medical care.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages to exceed a sum of $75,000, together with interest,

costs herein incurred, and all relief this Court deems just and proper.



                                            COUNT II

                  Strict Products Liability: Design Defect (All Defendants)

       123.    Plaintiff re-alleges each paragraph above as if fully set forth herein.

       124.    At all times herein mentioned, Defendants designed, researched, manufactured,

tested, advertised, promoted, sold, and/or distributed Paraquat products as described above to


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which Plaintiff was exposed, including in the State of Illinois.

        125.    Paraquat products were expected to and did reach the usual consumers, handlers,

and persons coming into contact with it without substantial change in the condition in which they

were produced, manufactured, sold, distributed, and/or marketed by Defendants, including in the

State of Illinois.

        126.    At those times, paraquat products were in an unsafe, defective condition that was

unreasonably dangerous to users, and in particular, Plaintiff.

        127.    For many years, Plaintiff was exposed to Defendants’ Paraquat products regularly

and repeatedly for hours at a time resulting in regular, repeated, and prolonged exposure of

Plaintiff to Paraquat.

        128.    The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design or

formulation in that, when they left the hands of the manufacturer and/or suppliers, the foreseeable

risks exceeded the benefits associated with the design or formulation of the Paraquat products.

        129.    The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design and/or

formulation, in that, when they left the hands of Defendants or their manufacturers and/or

suppliers, they were unreasonably dangerous, unreasonably dangerous in normal use, and they

were more dangerous than an ordinary consumer would expect. On balance, the unreasonable

risks posed by Paraquat products outweighed the benefits of their design.

        130.    At all relevant times, Paraquat products were in a defective condition, unsafe, and

unreasonably dangerous, and Defendants knew or had reason to know they were defective and

unsafe, especially when used in the form and manner as intended by Defendants. In particular,

the Paraquat products were defective in the following ways:

        a.      Paraquat products were designed, manufactured, formulated, and packaged such
                that when so used, Paraquat was likely to be inhaled, ingested, and absorbed into
                the bodies of persons who used them, while they were being used, or entered fields
                or orchards where they have been sprayed or areas near where they had been
                sprayed; and
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        b.         when inhaled, ingested, or absorbed into the bodies of persons who used them,
                   were nearby while they were being used, or entered fields or orchards where they
                   had been sprayed or areas near where they had been sprayed, Paraquat was likely
                   to cause or contribute to cause latent, permanent, and cumulative neurological
                   damage, and repeated neurodegenerative disease, including Parkinson’s disease to
                   develop over time and manifest long after exposure.

        131.       Defendants knew or should have known that at all relevant times that their

Paraquat products were in a defective condition and were (and are) unreasonably dangerous and

unsafe and would create a substantial risk of harm to persons who used them, were nearby while

Paraquat products were being used, or entered fields or orchards where Paraquat products had

been sprayed or areas near where Paraquat products had been sprayed.

        132.       Armed with this knowledge, Defendants voluntarily designed their Paraquat

products with a dangerous condition knowing that in normal, intended use, consumers such as

Plaintiff would be exposed to it.

        133.       Plaintiff was exposed to Paraquat without knowledge of Paraquat’s dangerous

characteristics.

        134.       At the time of Plaintiff’s exposure to Paraquat, Paraquat was being used for the

purposes and in a manner normally intended, as a broad-spectrum pesticide.

        135.       The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants reached their intended users in the

same defective and unreasonably dangerous condition in which it was manufactured.

        136.       Defendants designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and/or distributed a defective product, which created an unreasonable risk to the

consumer and to Plaintiff in particular, and Defendants are therefore strictly liable for the injuries

sustained by the Plaintiff.

        137.       Plaintiff could not, by the exercise of reasonable care, have discovered Paraquat’s

defects identified herein or perceived Paraquat’s danger.

        138.       Defendants are thus strictly liable to Plaintiff for the manufacturing, marketing,


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promoting, distribution, and/or selling of a defective product.

        139.   Defendants’ defective design of Paraquat products amounts to willful, wanton,

and/or reckless conduct.

        140.   As a direct and proximate result of the defects in Defendants’ Paraquat products

were the cause or a substantial factor in causing Plaintiff’s injuries.

        141.   As a result of the foregoing acts and omissions, Plaintiff suffered from severe

personal injuries that are permanent and lasting in nature, physical pain, and mental anguish,

including diminished enjoyment of life, and financial expenses for hospitalization and medical

care.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages to exceed a sum of $75,000, together with interest,

costs herein incurred, and all relief this Court deems just and proper.

                                            COUNT III

                 Strict Products Liability: Failure to Warn (All Defendants)

        142.   Plaintiff re-alleges each paragraph above as if fully set forth herein.

        143.   Defendants engaged in the business of selling, testing, distributing, supplying,

manufacturing, marketing, and/or promoting Paraquat in the State of Illinois, and through that

conduct, have knowingly and intentionally placed Paraquat into the stream of commerce with full

knowledge that it reaches consumers such as Plaintiff who was exposed to it through ordinary

and reasonably foreseeable uses.

        144.   Defendants did in fact sell, distribute, supply, manufacture, and/or promote

Paraquat products. Additionally, Defendants expected the Paraquat they were selling,

distributing, supplying, manufacturing, and/or promoting to reach Plaintiff without any

substantial change in the condition of the product from when it was initially distributed.

        145.   At the time of manufacture, Defendants knew, or in the exercise of ordinary care,

should have known that:

        a.     Defendants’ Paraquat products were designed, manufactured, formulated, and
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               packaged such that it was likely to be inhaled, ingested, and absorbed into the
               bodies of people who used it, who were nearby when it was being used, or who
               entered fields or orchards where it had been sprayed or areas near where it had
               been sprayed; and

       b.      when inhaled, ingested, or absorbed into the body, it was likely to cause latent
               neurological damage that was both permanent and cumulative, and that repeated
               exposures were likely to cause neurodegenerative disease, including Parkinson’s
               disease.

       146.    At all relevant times, Defendants’ Paraquat products were in a defective condition

such that it was unreasonably dangerous to those exposed to them and was so at the time they

were distributed by Defendants and at the time Plaintiff was exposed to and/or ingested the

product. The defective condition of Paraquat was due in part to the fact that it was not

accompanied by proper warnings regarding its toxic qualities and possible health effects,

including, but not limited to, developing Parkinson’s disease as a result of exposure. That

defective condition was not a common propensity of the Paraquat products that would be obvious

to a user of those products.

       147.    Defendants’ Paraquat products did not contain a necessary warning or caution

statement that, if complied with, would have been adequate to protect the health of those exposed

in violation of 7 U.S.C. § 136j(a)(1)(E).

       148.    Defendants failed to include a necessary warning or caution statement that, if

complied with, would have been adequate to protect the health of those exposed.

       149.    Defendants could have revised Paraquat’s label to provide additional warnings.

       150.    This defect caused serious injury to Plaintiff, who was exposed to Paraquat in its

intended and foreseeable manner.

       151.    At all relevant times, Defendants had a duty to properly design, manufacture,

compound, test, inspect, package, label, distribute, market, examine, maintain supply, provide

proper warnings, and take such steps to assure that the product did not cause users to suffer from

unreasonable and dangerous side effects.

       152.    Defendants labeled, distributed, and promoted a product that was dangerous and


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unsafe for the use and purpose for which it was intended.

        153.    Defendants failed to warn of the nature and scope of the health risks associated

with Paraquat, namely its toxic properties and its propensity to cause or serve as a substantial

contributing factor in the development of Parkinson’s disease.

        154.    Defendants knew of the probable consequences of exposure to Paraquat. Despite

this fact, Defendants failed to warn of the dangerous toxic properties and risks of developing

Parkinson’s disease from Paraquat exposure, even though these risks were known or reasonably

scientifically knowable at the time of distribution. Defendants willfully and deliberately failed to

avoid the consequences associated with its failure to warn, and in doing so, acted with conscious

disregard for Plaintiff’s safety.

        155.    At the time of exposure, Plaintiff could not have reasonably discovered any defect

in Paraquat through the exercise of reasonable care.

        156.    Defendants, as manufacturers and/or distributors of Paraquat, are held to the level

of knowledge of an expert in the field. There was unequal knowledge with respect to the risk of

harm, and Defendants, as manufacturers of Paraquat products possessed superior knowledge and

knew or should have known that harm would occur in the absence of a necessary warning.

        157.    Plaintiff reasonably relied on the skill, superior knowledge, and judgment of

Defendants.

        158.    Had Defendants properly disclosed the risks associated with Paraquat, Plaintiff

would have taken steps to avoid exposure to Paraquat.

        159.    The information that Defendants provided failed to contain adequate warnings and

precautions that would have enabled users to use the product safely and with adequate protection.

Instead, Defendants disseminated information that was inaccurate, false, and misleading and that

failed to communicate accurately or adequately the comparative severity, duration, and extent of

the risk of injuries associated with use of and/or exposure to Paraquat; continued to promote the

efficacy of Paraquat, even after they knew or should have known of the unreasonable risks from

exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing

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and promotion, any information or research about the risks and dangers of exposure to Paraquat.

        160.    To this day, Defendants have failed to adequately warn of the true risks of

exposure to Paraquat, including the risks manifested by Plaintiff’s injuries associated with

exposure to Paraquat.

        161.    As a result of its inadequate warnings, Paraquat was defective and unreasonably

dangerous when it left Defendants’ possession and/or control, was distributed by Defendants, and

when Plaintiff was exposed to it.

        162.    As a direct and proximate result, Plaintiff suffered from severe personal injuries

that are permanent and lasting in nature, physical pain, and mental anguish, including diminished

enjoyment of life, and financial expenses for hospitalization and medical care.

        WHEREFORE, Plaintiff respectfully request that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages to exceed the sum of $75,000, together with

interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and proper.

                                            COUNT IV

               Breach of Implied Warranty of Merchantability (All Defendants)

        163.    Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        164.    At all relevant times, Defendants were engaged in the business of selling Paraquat

products and was a merchant with respect to those products.

        165.    At all relevant times, Defendants intended and expected that Defendants’ Paraquat

products would be sold and used throughout the United States, including in the State of Illinois.

        166.    Defendants developed, manufactured, distributed, and sold Paraquat for use in

formulating    Defendants’    Paraquat    products, and     developed, registered, formulated, and

distributed Defendants’ Paraquat products for sale in the United States, including the State of

Illinois.

        167.    Plaintiff was exposed to Defendants’ Paraquat products regularly and repeatedly,

for hours at a time, resulting in regular, repeated, and prolonged exposure to Paraquat.

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       168.    At the time of each sale of Defendants’ Paraquat products that resulted in

Plaintiff’s exposure to paraquat, Defendants impliedly warranted that Defendants’ Paraquat

products were of merchantable quality, including that they were fit for the ordinary purposes for

which such goods were used.

       169.    Defendants breached this warranty as to each sale of Defendants’ Paraquat

products that resulted in Plaintiff’s exposure to Paraquat, in that Defendants’ Paraquat products

were not of merchantable quality because they were not fit for the ordinary purpose for which

such goods were used by Plaintiff who was either in direct privity with Defendants through

purchase of the Paraquat products or was an employee of the purchaser to whom the warranty

was directly made and, therefore, an intended third-party beneficiary of such warranties.

       170.    As a direct and proximate result of the breaches of the implied warranty of

merchantability by Defendants, Plaintiff suffered severe and personal injuries that were

permanent and lasting in nature, physical pain and mental anguish including diminished

enjoyment of life, and financial expenses for hospitalization and medical care.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages to exceed the sum of $75,000, together with

interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and proper.



                                       JURY DEMANDED

       Plaintiff hereby demands a trial by jury as to all claims in this action.




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Date: 8/22/2024                           Respectfully submitted,

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